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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 10-62413-CIV-ZLOCH

 SUSAN M. JORDAN,

             Plaintiff,

 vs.                                            FINAL ORDER OF DISMISSAL

 ACCOUNT CONTROL SYSTEMS,
 INC.,

             Defendant.
                                     /

       THIS MATTER is before the Court upon the Notice Of Voluntary

 Dismissal (DE 4) filed herein by Plaintiff, Susan M. Jordan.              The

 Court has carefully reviewed said Notice and the entire court file

 and is otherwise fully advised in the premises.

       Accordingly, after due consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.    The Notice Of Voluntary Dismissal (DE 4) filed herein by

 Plaintiff, Susan M. Jordan, be and the same is hereby approved,

 adopted and ratified by the Court;

       2.    The   above-styled    cause   be   and   the   same   is   hereby

 DISMISSED with prejudice; and

       3.    To the extent not otherwise disposed of herein, all

 pending Motions are hereby DENIED as moot.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

 County, Florida, this        25th         day of January, 2011.




                                     WILLIAM J. ZLOCH
                                     United States District Judge
 Copy furnished:
 Donald A. Yarbrough, Esq.
